           Case 1:20-cv-02106-CLP Document 1-1 Filed 05/08/20 Page 1 of 1 PageID #: 11

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New   York
                                                                            __________

                      Anil Suradkar, and                              )
                        Suresh Tyagi,                                 )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                         Civil Action No.
                                                                      )
                   Pride Hospitality LLC,                             )
             d/b/a Hotel 95/Airport Plaza, and                        )
                         Jai Patel,                                   )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Pride Hospitality LLC, d/b/a Hotel 95/Airport Plaza, and Jai Patel
                                           145-07 95th Avenue, Jamaica, NY 11435




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Abdul Hassan Law Group, PLLC
                                           215-28 Hillside Avenue
                                           Queens Village, NY 11427




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
